
196 F. Supp. 2d 1378 (2002)
In re PLASMA DISPLAY PANELS PATENT LITIGATION
Fujitsu Ltd., et al.
v.
Competitive Technologies, Inc., et al., N.D. California, C.A. No. 3:02-1673
Competitive Technologies, Inc., et al.
v.
Fujitsu Limited, et al., D. Delaware, C.A. No. 1:01-613
No. 1444.
Judicial Panel on Multidistrict Litigation.
April 16, 2002.
*1379 Before HODGES,[*] Chairman, KEENAN, SEAR, SELYA, GIBBONS, JENSEN and MOTZ, Judges of the Panel.

ORDER DENYING TRANSFER
This litigation consists of two actions now pending, respectively, in the District of Delaware and Northern District of California.[1] Competitive Technologies, Inc. (CTI), which is a plaintiff in the California action and a defendant in the Delaware action, moves the Panel, pursuant to 28 U.S.C. § 1407, for an order centralizing this litigation in the Central District of Illinois. The Fujitsu parties,[2] which are defendants in the California action and plaintiffs in the Delaware action, oppose the motion.
On the basis of the papers filed and hearing session held, the Panel finds that given the minimal number of actions involved in this docket, Section 1407 centralization would neither serve the convenience of the parties and witnesses nor further the just and efficient conduct of this litigation. CTI has failed to persuade us that any common questions of fact in this docket are sufficiently complex, undiscovered and/or numerous to justify Section 1407 transfer. We point out that alternatives to transfer exist that can minimize whatever possibilities there might be of duplicative discovery, inconsistent pretrial rulings, or both. See, e.g., In re Eli Lilly and Company (Cephalexin Monohydrate) Patent Litigation, 446 F. Supp. 242, 244 (J.P.M.L. 1978). See also Manual for Complex Litigation, Third, § 31.14 (1995).
IT IS THEREFORE ORDERED that the motion, pursuant to 28 U.S.C. § 1407, for centralization of these two actions is denied.
NOTES
[*]   Judge Hodges did not participate in the decision of this matter.
[1]  The Panel has been informed that on April 2, 2002, Competitive Technologies, Inc., et al. v. Fujitsu Limited, et al., C.D. Illinois, C.A. No. 2:00-2332, was transferred under 28 U.S.C. § 1404 or 1406 to the California federal district court.
[2]  Fujitsu Limited and Fujitsu Hitachi Plasma Display Limited (collectively referred to as the Fujitsu parties).

